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      Case Number             Filed Date     County                                Case Type                                                Status            Contested   Jury Trial
 062018CA009500AXXXCE
                             04/27/2018     BROWARD                                                                                        Pending              No             No
     [CACE-18-009500]



                         Party Name                                           Party Type                                        Attorney                         Bar ID


     RODRIGUEZ, CARLOS AUGUSTO                         JUDGE

     AUDLEY, ADLIN                                     PLAINTIFF                                          HOOGERWOERD, PETER MICHAEL                 188239

     UNIVERSITY OF PHOENIX INC                         DEFENDANT                                          KEYSER, ELAINE WILKINSON                   13606

     HOOGERWOERD, PETER                                ATTORNEY

     KEYSER, ELAINE W ESQ                              ATTORNEY

  Dockets

    Image        Doc #        Action Date                                                                        Description                                                  Pages

             7             05/30/2018        Order Extending Time                                                                                                         1

             6             05/25/2018        Motion for Enlargement of Time                                                                                               3

             5             04/27/2018        Summons Issued Fee Payor: NATHALY LEWIS ; Userid: CTS-fg/t ; Receipt: 20181FA1A056803; ;
             4             04/27/2018        Filing Fee Payor: NATHALY LEWIS ; Userid: CTS-fg/t ; Receipt: 20181FA1A056803; ;

             3             04/27/2018        eSummons Issuance University of Phoenix Inc                                                                                  1

             2             04/27/2018        Complaint (eFiled)                                                                                                           11

             1             04/27/2018        Civil Cover Sheet                                                                                                            2


  Judge Assignment History


  Court Events


  Financial Summary


  Reopen History




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                                                             IN THE CIRCUIT COURT OF THE
                                                             SEVENTEENTH JUDICIAL CIRCUIT, IN
                                                             AND   FOR  BROWARD     COUNTY,
                                                             FLORIDA

                                                             CIVIL DIVISION

        ADLINE AUDLEY,                                       CASE NO. CACE-18-009500 Division: 14

                 Plaintiff,

        v.

        THE UNIVERSITY OF PHOENIX, INC

                 Defendant.
                                                     /

                  AGREED ORDER GRANTING DEFENDANT’S UNOPPOSED MOTION
                     FOR EXTENSION OF TIME TO RESPOND TO COMPLAINT

                 THIS CAUSE came before the Court upon the Unopposed Motion of the Defendant,

        THE UNIVERSITY OF PHOENIX, INC., for the entry of an Agreed Order granting an

        extension of time to respond to Plaintiff’s Complaint, and the Court, having reviewed the Motion

        and being otherwise fully apprised on the premises, it is hereby

                 ORDERED AND ADJUDGED that Defendant’s Motion is GRANTED.                           The

        Defendant shall have up to and including Friday, June 8, 2018, to respond to Plaintiff’s

        Complaint.

                 DONE and ORDERED on this ____ day of May 2018.



                                                     ____________________________________
                                                     CIRCUIT COURT JUDGE


        Copies to:
        Counsel of Record
        Firmwide:154928717.1 073540.1137




             Electronically Signed by Rodriguez, Carlos A CACE18009500 05-30-2018 4:48 PM
                                                 EXHIBIT A
